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            EXHIBIT A
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Google’s Opening Statement




                                                                     DDX1.1
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   Ken Mackay                                                                          Justin Pedro
     Software                                                                          Engineering
      Engineer                                                                         Manager




Tavis Maclellan                                                                        Chris Chan
      Software                                                                         Product
      Engineer                                                                         Manager




                                                                                                    DDX1.2
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 4 of 283




                                                                    • Set timer…
   Ken Mackay
                                                                    • Set thermostat…
     Software
                                                                    • “Play me the news”
      Engineer
                                                                    • “Play classical music”
                                                                    • “Watch the news on my TV”
                                                                    • “Play Top Gun trailer on my TV”
                                                                    • “What’s today’s weather?”
Tavis Maclellan                                                     • “Show me photos of Napa on TV”
      Software                                                      • “How long will it take to get to
      Engineer                                                        Costco?”
                                                                    • “What’s my agenda for today?”
                                                                    • “Add cereal to my shopping list”
                                                                    • “Play Lucky Trivia”

                                                                                                         DDX1.3
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 5 of 283




Control your home   Control TVs and speakers
                                                                                              Justin Pedro
                                                                                              Engineering
 Set Up Routines        Get things done                                                       Manager




                                                                                              Chris Chan
                                                                                              Product
                                                                                              Manager




                                                                                                           DDX1.4
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 6 of 283
                                  Google’s Mission

• Google was founded in
  1998

• Mission: to organize
  the world’s information
  and make it universally
  accessible and useful.




                                                                                         DDX1.5
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 7 of 283
                Google’s Innovations: Internet of Information
        1998:                                                                               2002:
Google Search




        2004:                                                                               2005:




                                                                                                    DDX1.6
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 8 of 283
          Sole Accused Feature


              Group 1                                                Operating In
                                                                     Standalone
                                                   A
                                                                        Mode
  B

                                       Group 2


                                   C

                                                                                    DDX1.7
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 9 of 283
        Non-Infringing Feature


              Group 1                                                Not Operating
                                                                     In Standalone
                                                   A
                                                                         Mode
  B

                                       Group 2


                                   C

                                                                                 DDX1.8
         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 10 of 283
Infringement Questions Left To Be Decided

Infringement?                                                          Infringement?
  ’885 Patent                                                              ’885 Patent
  ’966 Patent                                                              ’966 Patent




                                                                                         DDX1.10
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 11 of 283
                          Google’s Independent Development




                                                                                                Nov. 5, 2019       Nov. 24, 2020
                                                                                          ’966 Patent issued   ’885 Patent issued

         Ken        Tavis
        Mackay     Maclellan
 Development of grouping feature
March             December                                                                                            Jun. 2020
                                                                                                                     Sonos first
                                         Nov. 4, 2016
                                                                                                                       released
                                         Google Releases
                                                                                                                      ’885/’966
                                         Google Home
                                                                                                               patented feature
        2015              2016                      2017                    2018                       2019             2020


                                                                                                                               DDX1.11
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 12 of 283
                                      Dr. Dan Schonfeld

                    E D U C AT I O N
                                  THE JOHNS HOPKINS UNIVERSITY
                                  Ph.D. Electrical and Computer Engineering, 1990
                                  M.S. Electrical and Computer Engineering, 1988

                                  UNIVERSITY OF CALIFORNIA, BERKLEY
Dr. Dan Schonfeld                 B.S. Electrical Engineering and Computer Science, 1986
  Expert Witness

                    EXPERIENCE
                                  UNIVERSITY OF ILLINOIS AT CHICAGO
                                  Professor, ECE, CS, Bioengineering Departments (1990 – Current)
                                  Director, University-Industry Engineering Research Center (2008 – 2011)
                                  Co-Director, Multimedia Communications Laboratory (1997 – Current)
                                  Editor-In-Chief, IEEE Trans. On Circuits And Systems For Video Tech. (2014-2017)

                                                                                                                DDX1.12
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 13 of 283
                                    Dr. Dan Schonfeld

                    RECOGNITIONS

                                                                                            SCHOLAR
                                Fellow                               Fellow


Dr. Dan Schonfeld
  Expert Witness
                    RESEARCH

                                        U.S. Department
                                        of Defense




                                                                                                  DDX1.13
              Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 14 of 283
        Sonos’s Burden of Proof on Infringement

    U.S. Patent                                                               Product




                                            ≠
CLAIM 1:
• Made of leather                                                Made of leather
• Stitched together                                              Stitched together
• Filled with compressed air                                     Filled with compressed air
• Round                                                          Oval

                                                                                              DDX1.14
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 15 of 283




                                                                      DDX1.15
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  Sonos’s Zone Scenes Patents




                                                    Conception Date:
                                                   December 21, 2005




                                                                       DDX1.16
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 17 of 283
              Evidence Submitted To Patent Examiner


1,813 Documents
  72,550 Pages
                                                                                               Testimony




                                                                                               Software




                                                                            Product Testing   Source Code




                                                                                                            DDX1.17
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                    Source Code




                                                                      DDX1.18
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       Sonos’s Asserted Claims




                                                                      DDX1.19
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 20 of 283
           Checks and Balances




                                                                      DDX1.20
   Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 21 of 283
Google Respects Intellectual Property




                                       Over 31,000 U.S. Patents Issued




                                                                         DDX1.21
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 22 of 283
    Evidence Presented To Jury




                                                                             Testimony




                                                                             Software




                                                          Product Testing   Source Code




                                                                                          DDX1.22
       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 23 of 283
  Validity Questions Left To Be Decided

Invalid?                                                                 Invalid?
’885 Patent                                                              ’966 Patent




                                                                                       DDX1.23
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 24 of 283
                                   Prior Art: Sonos 2005 System

PRIOR ART


                                                                                                                       Jun. 2020
                                                                                                                      Sonos first
                                                                                                              released ’885/’966
Jan. 27, 2005
                                                                                                                patented feature
Sonos releases
2005 system

       Dec. 2005
       Mr. Lambourne’s
       conception date



2005    2006     2007    2008   2009     2010     2011     2012     2013      2014     2015     2016   2017    2018    2019    2020




                                                                                                                                DDX1.24
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 25 of 283
                       Prior Art: Sonos 2005 System




   Robert
 Lambourne
’885, '966 Patents
     Inventor



                                                                                           TX3923
                                                                                                DDX1.25
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 26 of 283
                                          2015 Email




                     2. Allow a user to save Zone Profiles (as requested by Tom and
                     others). This would allow a user with one click to put their Zones
                     into predefined groups (think Party-mode, but instead off linking
   Robert            all Zones, certain Zones get grouped. Tom has the experience that
 Lambourne           he ends most evenings in Party Mode - but most mornings, he
’885, '966 Patents
     Inventor
                     wants to link all the 'living spaces', but ungroup the bedrooms (or
                     words to that effect).


                                                                                           TX0120
                                                                                                DDX1.26
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 27 of 283
         Prior Art: Obviousness




                                                                      Winter Party

                Party Mode Group




                                                                                     DDX1.27
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        Prior Art: Sonus Forums




                                                                      TX3930
                                                                          DDX1.28
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 29 of 283
                                      Prior Art Timeline


              PRIOR ART                                Jan 2005                        Nov 2005
                                              Sonos 2005 System                      Squeezebox



                                                                        Feb – Sep 2005
                                                                        Sonos Forums                Dr. Dan Schonfeld
   Sep 2002                                         July 2004                                          Expert Witness
   Nourse                                           Bose

                                      2004                                          2005          Dec 2005      Sep 2006
                                      Yamaha                                        Crestron      Lambourne’s   Provisional
                                                                                                  Conception    Application
                                                                                                  Date          Filed



2002             2003                          2004                               2005                  2006




                                                                                                                     DDX1.29
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 30 of 283
     Sonos’s Damages Request

        $89,790,000




           Sonos’s
          Damages
          Request                    For One Feature
                                     Out of Thousands




                                                                      DDX1.33
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                                                                      DDX1.34
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                                                                      DDX1.35
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 33 of 283




                                                                      DDX2.001
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                                                                      DDX2.002
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 35 of 283




                        A




8:00 PM   9:00 AM   10:00 AM   11:00 AM      12:00 PM       1:00 PM       2:00 PM       3:00 PM      4:00 PM   5:00 PM   6:00 PM




                                                                                                                           DDX4.3
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 36 of 283




                        A                        A




8:00 PM   9:00 AM   10:00 AM   11:00 AM      12:00 PM       1:00 PM       2:00 PM       3:00 PM      4:00 PM   5:00 PM   6:00 PM




                                                                                                                           DDX4.4
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 37 of 283




                                                                        C

                                                                    B
                        A                        A              A




8:00 PM   9:00 AM   10:00 AM   11:00 AM      12:00 PM       1:00 PM         2:00 PM     3:00 PM      4:00 PM   5:00 PM   6:00 PM




                                                                                                                           DDX4.5
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 38 of 283




                                                                        C                            C

                                                                    B                            B
                        A                        A              A                            A




8:00 PM   9:00 AM   10:00 AM   11:00 AM      12:00 PM       1:00 PM         2:00 PM     3:00 PM          4:00 PM   5:00 PM   6:00 PM




                                                                                                                               DDX4.6
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                    “Zone Scene”


  previously‐saved grouping of zone
players according to a common theme



                                                                         DDX4.9
       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 42 of 283




                          Income Approach




                            Attempts to value a patent by measuring the
Income Approach             benefits derived from use of the patent




                                                                             DDX6.1
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 43 of 283




                             IFTTT




      TX1196

                                                                      DDX6.2
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                                                                      DDX7.1
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 49 of 283
        Google’s Development of Speaker Group Functionality




March
                                                                                                   December 2015
                       Ken           Tavis                                                         Product release
                      MacKay        MacLellan


                         Development                                          Final Approval and Release

                                                     2015



                                             May 8, 2015 | Source code written for “Join Group”
                          March 30, 2015 | Design doc
              March 26, 2015 | Source Code approval
        March 18, 2015 | Initial source code written

                                                                                                                     DDX7.2
             Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 50 of 283
                   Google’s Old and New Design

                                                               DOWNSTAIRS

 CREATE

                                                                                            Downstairs
                                                                                               1234
                                                              Downstairs
                                                                  1234

                                    “Join Group”
                                     Command
            NAME
Setup &
Display      ID
          MEMBERSHIP
                                                                               Downstairs
Invoke                                                                             1234




                                                                                                         DDX7.3
          Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 51 of 283
                 Google’s Old and New Design

                                                            DOWNSTAIRS

 CREATE

                                                                                         Downstairs
                                                                                            1234
                                                           Downstairs
                                                               1234

                                 “Join Group”
                                  Command
          NAME
Setup &
Display    ID


                                                                            Downstairs
Invoke                                                                          1234




                                                                                                      DDX7.4
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Adaptive
Continuous
Automatic
                                                                      DDX7.5
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 53 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        9       5
                                        3       3




                                                                                      DDX7.6
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 54 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS     Leader




                                        9       5
                                        3       3




                                                                                      DDX7.7
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 55 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        9       5
                                        3       3




                                                                                      DDX7.8
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 56 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        4       5
                                        3       9




                                                                                      DDX7.9
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 57 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        4       5
                                                                   Leader
                                        3       9




                                                                                      DDX7.10
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 58 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        4       5
                                        3       9




                                                                                      DDX7.11
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 59 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS




                                        4       5
                                        3




                                                                                      DDX7.12
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 60 of 283
   Available Speakers and Leadership Are Continuously Reassessed

DOWNSTAIRS                                                         Leader




                                        4       5
                                        3




                                                                                      DDX7.13
             Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 61 of 283
Available Speakers and Leadership Are Continuously Reassessed




                                                                                   DDX7.14
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 62 of 283
             Google’s New Design




                                                                         IDLE

                                                                      STANDALONE

                                                                        GROUP




                                                                                   DDX7.15
    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 63 of 283
                 Google’s New Design




                                                                             IDLE

                                                                          STANDALONE
“Join Group”
 Command
                                                                            GROUP




                                                                                       DDX7.16
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 64 of 283
                                   Google’s New Design

“Join Group”
 Command

                                                                                               IDLE


  StopCurrentApp();                                                                         STANDALONE

                                                                                              GROUP




                                                                                                         DDX7.17
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 65 of 283
                                   Google’s New Design

“Join Group”                                DOWNSTAIRS
 Command

                                                                                               IDLE


  StopCurrentApp();                                                                         STANDALONE
  AddGroup(g);
                                                                                              GROUP




                                                                                                         DDX7.18
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 66 of 283
             Google’s New Design

                      DOWNSTAIRS


                                                                         IDLE

                                                                      STANDALONE

                                                                        GROUP




                                                                                   DDX7.19
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 67 of 283
                       Idle Mode




                                                        IDLE




                                                                      DDX7.20
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 68 of 283
                Standalone Mode




                                                        IDLE

                                                        “Launch”
                                                        Command




                                                STANDALONE




                                                                      DDX7.21
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 69 of 283
                     Group Mode




                                                                IDLE

                                                               “Launch”
                                                               Command




                                                             GROUP




                                                                          DDX7.22
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 70 of 283
                     Google’s New Design




                                    IDLE




GROUP                                                                         STANDALONE




                                                                                           DDX7.23
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 71 of 283
             Google’s New Design


                             IDLE




                     STANDALONE




                          GROUP

                                                                      DDX7.24
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             Video Demonstration




                                                                      DDX7.25
             Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 73 of 283
                          Google’s New Design




                                                                                      IDLE
DOWNSTAIRS
                                                                                   STANDALONE

                                                                                     GROUP




                                                                                                DDX7.26
    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 74 of 283
                 Google’s New Design




                                                                             IDLE

                                                                          STANDALONE
“Join Group”
 Command
                                                                            GROUP




                                                                                       DDX7.27
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 75 of 283
             Google’s New Design




                                                                         IDLE

                                                                      STANDALONE
         StopCurrentApp();
                                                                        GROUP




                                                                                   DDX7.28
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 76 of 283
             Google’s New Design




                                                                         IDLE

                                                                      STANDALONE
             AddGroup(g);
                                                                        GROUP




                                       DOWNSTAIRS
                                                                                   DDX7.29
                            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 77 of 283
                                         Google’s New Design




                                                                                                     IDLE

                                                                                                  STANDALONE
              Playing
              Living Room
              speaker


 DOWNSTAIRS                                                                                         GROUP


DOWNSTAIRS




                                                                   DOWNSTAIRS
                                                                                                               DDX7.30
                            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 78 of 283
                                         Google’s New Design




                                                                                                     IDLE

                                                                                                  STANDALONE
              Playing
              Living Room
              speaker
                                                            “Launch”
                                                            Command
 DOWNSTAIRS                                                                                         GROUP


DOWNSTAIRS




                                                                   DOWNSTAIRS
                                                                                                               DDX7.31
                            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 79 of 283
                                         Google’s New Design




                                                                                                     IDLE

                                                                                                  STANDALONE
              Playing
              Living Room
              speaker


 DOWNSTAIRS                                                                                         GROUP


DOWNSTAIRS




                                                                   DOWNSTAIRS
                                                                                                               DDX7.32
       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 80 of 283
               Google’s Home App Group



                      Wi-Fi                       Security




 Camera                                                          Media Controls




                                                                    Assistant/
Thermostat
                                                                  Entertainment



                External Devices              User Interface



                                                                                  3
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Examples of Uses of Google Home App


                                                          News             Radio



                                                           Traffic     Weather
             Watch or listen to media
         • Voice Match                                                    Google
         • Music                                     Flight Info
         • News                                                           Photos
         • Watch news
         • Podcasts
         • Radio
         • Relax                                       Shopping        Reminders
         • Bluetooth                                        List
         • Audiobooks

             Plan your day
         • Routines                                        Timer         Security
         • Traffic                                                         Video
         • Local guide
         • Weather
         • Calendar
         • Flight information                                                       4
      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 82 of 283




                Sonos v. Google
Dr. Dan Schonfeld Direct Examination




                                                                            DDX10.1
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 83 of 283
                             Education and Experience

E D U C AT I O N
            THE JOHNS HOPKINS UNIVERSITY
            Ph.D. Electrical and Computer Engineering, 1990
            M.S. Electrical and Computer Engineering, 1988

            UNIVERSITY OF CALIFORNIA, BERKELEY
            B.S. Electrical Engineering and Computer Science, 1986


EXPERIENCE
            UNIVERSITY OF ILLINOIS AT CHICAGO
            Professor, ECE, CS, Bioengineering Departments (1990 – Current)
            Director, University-Industry Engineering Research Center (2008 – 2011)
            Co-Director, Multimedia Communications Laboratory (1997 – Current)
            Editor-In-Chief, IEEE Trans. On Circuits And Systems For Video Tech. (2014-2017)

                                                                                               DDX10.2
            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 84 of 283
                    Recognitions and Research

RECOGNITIONS



       Fellow                         Fellow                         SCHOLAR

RESEARCH

           U.S. Department
           of Defense




                                                                                  DDX10.3
                                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 85 of 283
                                ’885 Patent, Claim 1 vs. ’966 Patent, Claim 1

                      ’885 Patent, Claim 1                                                        ’966 Patent, Claim 1

[1.0] A first zone player comprising:                                        [1.0] A computing device comprising:
[1.1] a network interface that is configured to communicatively couple the   [1.1] one or more processors;
first zone player to at least one data network;                              [1.2] a non-transitory computer-readable medium; and
[1.2] one or more processors;                                                [1.3] program instructions stored on the non-transitory computer-
[1.3] a non-transitory computer-readable medium; and                         readable medium that, when executed by the one or more processors,
[1.4] program instructions stored on the non-transitory computer-            cause the computing device to perform functions comprising:
readable medium that, when executed by the one or more processors,
cause the first zone player to perform functions comprising:




                                                                                                                                                  DDX10.4
                                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 86 of 283
                                ’885 Patent, Claim 1 vs. ’966 Patent, Claim 1

                      ’885 Patent, Claim 1                                                            ’966 Patent, Claim 1

[1.5] while operating in a standalone mode in which the first zone player is    [1.4] while serving as a controller for a networked media playback system
configured to play back media individually in a networked media playback        comprising a first zone player and at least two other zone players, wherein
system comprising the first zone player and at least two other zone             the first zone player is operating in a standalone mode in which the first
players:                                                                        zone player is configured to play back media individually:
    [1.6] (i) receiving, from a network device over a data network, a first         [1.5] receiving a first request to create a first zone scene comprising a
    indication that the first zone player has been added to a first zone            first predefined grouping of zone players including at least the first
    scene comprising a first predefined grouping of zone players including          zone player and a second zone player that are to be configured for
    at least the first zone player and a second zone player that are to be          synchronous playback of media when the first zone scene is invoked;
    configured for synchronous playback of media when the first zone                [1.6] based on the first request, i) causing creation of the first zone
    scene is invoked; and                                                           scene, ii) causing an indication of the first zone scene to be
    [1.7] (ii) receiving, from the network device over the data network, a          transmitted to the first zone player, and iii) causing storage of the first
    second indication that the first zone player has been added to a                zone scene;
    second zone scene comprising a second predefined grouping of zone               [1.7] receiving a second request to create a second zone scene
    players including at least the first zone player and a third zone player        comprising a second predefined grouping of zone players including at
    that are to be configured for synchronous playback of media when the            least the first zone player and a third zone player that are to be
    second zone scene is invoked, wherein the second zone player is                 configured for synchronous playback of media when the second zone
    different than the third zone player;                                           scene is invoked, wherein the third zone player is different than the
[1.8] after receiving the first and second indications, continuing to operate       second zone player;
in the standalone mode until a given one of the first and second zone               [1.8] based on the second request, i) causing creation of the second
scenes has been selected for invocation;                                            zone scene, ii) causing an indication of the second zone scene to be
                                                                                    transmitted to the first zone player, and iii) causing storage of the
                                                                                    second zone scene;
                                                                                    [1.9] displaying a representation of the first zone scene and a
                                                                                    representation of the second zone scene; and


                                                                                                                                                                  DDX10.5
                                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 87 of 283
                                ’885 Patent, Claim 1 vs. ’966 Patent, Claim 1

                      ’885 Patent, Claim 1                                                            ’966 Patent, Claim 1

[1.5] while operating in a standalone mode in which the first zone player is    [1.4] while serving as a controller for a networked media playback system
configured to play back media individually in a networked media playback        comprising a first zone player and at least two other zone players, wherein
system comprising the first zone player and at least two other zone             the first zone player is operating in a standalone mode in which the first
players:                                                                        zone player is configured to play back media individually:
    [1.6] (i) receiving, from a network device over a data network, a first         [1.5] receiving a first request to create a first zone scene comprising a
    indication that the first zone player has been added to a first zone            first predefined grouping of zone players including at least the first
    scene comprising a first predefined grouping of zone players including          zone player and a second zone player that are to be configured for
    at least the first zone player and a second zone player that are to be          synchronous playback of media when the first zone scene is invoked;
    configured for synchronous playback of media when the first zone                [1.6] based on the first request, i) causing creation of the first zone
    scene is invoked; and                                                           scene, ii) causing an indication of the first zone scene to be
    [1.7] (ii) receiving, from the network device over the data network, a          transmitted to the first zone player, and iii) causing storage of the first
    second indication that the first zone player has been added to a                zone scene;
    second zone scene comprising a second predefined grouping of zone               [1.7] receiving a second request to create a second zone scene
    players including at least the first zone player and a third zone player        comprising a second predefined grouping of zone players including at
    that are to be configured for synchronous playback of media when the            least the first zone player and a third zone player that are to be
    second zone scene is invoked, wherein the second zone player is                 configured for synchronous playback of media when the second zone
    different than the third zone player;                                           scene is invoked, wherein the third zone player is different than the
[1.8] after receiving the first and second indications, continuing to operate       second zone player;
in the standalone mode until a given one of the first and second zone               [1.8] based on the second request, i) causing creation of the second
scenes has been selected for invocation;                                            zone scene, ii) causing an indication of the second zone scene to be
                                                                                    transmitted to the first zone player, and iii) causing storage of the
                                                                                    second zone scene;
                                                                                    [1.9] displaying a representation of the first zone scene and a
                                                                                    representation of the second zone scene; and


                                                                                                                                                                  DDX10.6
                                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 88 of 283
                                ’885 Patent, Claim 1 vs. ’966 Patent, Claim 1

                      ’885 Patent, Claim 1                                                           ’966 Patent, Claim 1

[1.5] while operating in a standalone mode in which the first zone player is   [1.4] while serving as a controller for a networked media playback system
configured to play back media individually in a networked media playback       comprising a first zone player and at least two other zone players, wherein
system comprising the first zone player and at least two other zone            the first zone player is operating in a standalone mode in which the first
players:                                                                       zone player is configured to play back media individually:
                                   ***                                                                            ***
[1.9] after the given one of the first and second zone scenes has been         [1.10] while displaying the representation of the first zone scene and the
selected for invocation, receiving, from the network device over the data      representation of the second zone scene, receiving a third request to
network, an instruction to operate in accordance with a given one of the       invoke the first zone scene; and
first and second zone scenes respectively comprising a given one of the        [1.11] based on the third request, causing the first zone player to
first and second predefined groupings of zone players; and                     transition from operating in the standalone mode to operating in
[1.10] based on the instruction, transitioning from operating in the           accordance with the first predefined grouping of zone players such that
standalone mode to operating in accordance with the given one of the           the first zone player is configured to coordinate with at least the second
first and second predefined groupings of zone players such that the first      zone player to output media in synchrony with output of media by at least
zone player is configured to coordinate with at least one other zone player    the second zone player.
in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with
output of media by the at least one other zone player in the given one of
the first and second predefined groupings of zone players.




                                                                                                                                                             DDX10.7
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 89 of 283




       Claim Term                Sonos Patents                         Agreed-Upon Construction

“zone scene”                       ’885 Patent                “a previously-saved grouping of zone
                                   ’966 Patent                players according to a common theme”


“indication that the first         ’885 Patent                “indication from the network device
zone player has been                                          that the [first] zone player has been
added to a zone scene”                                        added by the user to a zone scene”




                                                                                                      DDX10.8
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                  Person of Ordinary Skill In the Art:

A person of ordinary skill in the art of the ’885 and ’966 patents would
have at least
(a) a bachelor’s degree in computer science, computer engineering,
    electrical engineering, or an equivalent thereof, and
(b) at least 2-4 years of professional experience in the field of
    multimedia playback systems, such as consumer audio systems, or
    an equivalent level of skill, knowledge, and experience.
Moreover, additional education could substitute for work experience
and significant work experience could substitute for formal education.

                                                                                       DDX10.9
           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 91 of 283




’966/’885 Patent (TX0001, TX0003) at Fig. 5A
                                                     ’885 Patent (TX0003) at 8:42-61

                                                                                 DDX10.10
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                             Setup
                                             Setup     Creating a “morning” group


                                                                                 Bedroom
                                                                                    Den
                                                                                Dining Room




                                             Save For Later
                          Invocation

                                             Invocation      Invoking the “morning” group


                                                                                 Bedroom
                                                                                    Den
                                                                                Dining Room




                                                                                              DDX10.11
             Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 93 of 283
                      Party Mode in the Patent




    Party Mode
Morning Wakeup




                                                                                   ’966 Patent at Fig. 7
                                                                                                    DDX10.12
                            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 94 of 283


April 2001
Lindemann


                                                                                                  Nov 2005
             2004           Jan 2005                       2005
                                                                                                  Squeezebox
             Yamaha         Sonos 2005 System              Crestron
  Sep 2002
  Nourse

                July 2004
                Bose                    Feb – Sep 2005                                                  Dec 2005     Sep 2006
                                        Sonos Forums                                                    Alleged      Earliest Priority
                                                                                                        Conception   Date
                                                                                                        Date




                                                                                                                         DDX10.13
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 95 of 283




                                                       TX2426 at 55
                                                                      DDX10.14
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                               TX0004 (file history for ’966 patent) at 4577
                                                                        DDX10.15
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 97 of 283




                               TX0004 (file history for ’966 patent) at 4577
                                                                        DDX10.16
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                     TX0004 (file history for ’966 patent) at 823


                                                                      DDX10.17
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                                TX0006 (file history for ’885) at 5850
                                                                      DDX10.18
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                                TX0006 (file history for ’885) at 5850

                                                                       DDX10.19
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  Multi-room Interface   Personal Media Center                                                          Multi-room Interface   Personal Media Center

                                                    Room                               House
    ROOM A                    ROOM B                button                             button            ROOM A                     ROOM B


Jewel Cube Speakers Jewel Cube Speakers                                                              Jewel Cube Speakers Jewel Cube Speakers

    ROOM C                    ROOM D                                                                     ROOM C                     ROOM D


Jewel Cube Speakers Jewel Cube Speakers                                                              Jewel Cube Speakers Jewel Cube Speakers
                                                       TX6000 at 7, 10, 44
                                                                                                                                                       DDX10.20
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                                      TX0006 (’885 file history) at 5850



                                                                       DDX10.21
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 103 of 283




           Old Devices                                                            New Devices
   Firmware version 1.56.309385                                           Firmware version 1.56.324896
   Firmware version 1.56.313652




Nest Hub              Nest Audio Player               Nest Mini               Google Pixel 7       iPhone 12 Pro


                                                                                                             DDX10.22
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                                    ’885 Patent                             ’966 Patent

                                                                    No storage of zone
Old Design                                                          scenes
                                                                    No operating in
                            No operating in                         standalone mode
New Design
                            standalone mode                         No storage of zone
                                                                    scenes
                                                                                          DDX10.23
      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 105 of 283
                    Google’s New Design




                                                                                IDLE

                                                                             STANDALONE
“Join Group”
 Command
                                                                               GROUP




                                                                                          DDX10.24
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              Google’s New Design




                                                                          IDLE

                                                                       STANDALONE

                                                                         GROUP




                                                                                    DDX10.25
      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 107 of 283
                    Google’s New Design




                                                                                IDLE

                                                                             STANDALONE
“Join Group”
 Command
                                                                               GROUP




                                                                                          DDX10.26
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 108 of 283
              Google’s New Design




                                                                          IDLE

                                                                       STANDALONE

                                                                         GROUP




                                                                                    DDX10.27
      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 109 of 283
                    Google’s New Design




                                                                                IDLE

                                                                             STANDALONE
“Join Group”
 Command
                                                                               GROUP




                                                                                          DDX10.28
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 110 of 283
              Google’s New Design




                                                                          IDLE

                                                                       STANDALONE

                                                                         GROUP




                                                                                    DDX10.29
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                    Google’s New Design




                                                                                IDLE

                                                                             STANDALONE
“Join Group”
 Command
                                                                               GROUP




                                                                                          DDX10.30
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 112 of 283
              Google’s New Design




                                                                          IDLE

                                                                       STANDALONE

                                                                         GROUP




                                                                                    DDX10.31
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              Google’s New Design




                                                                          IDLE

                                                                       STANDALONE

                                                                         GROUP




                                                                                    DDX10.32
         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 114 of 283
Google’s New Design Does Not Infringe The ’885 Patent




                                                                         ’885 Patent, Claim 1
                                                                                           DDX10.33
         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 115 of 283
Google’s New Design Does Not Infringe The ’966 Patent




                                                                         ’966 Patent, Claim 1
                                                                                           DDX10.34
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                                    ’885 Patent                           ’966 Patent
                            No operating in                        No operating in
                            standalone mode                        standalone mode
New Design
                                                                   No storage of zone
                                                                   scenes
                                                                   No storage of zone
Old Design                                                         scenes
                                                                                        DDX10.35
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 117 of 283




                                                            ’966 Patent, 10:36-52
                                                                               DDX10.36
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Accused Products Do Not Store The Zone Scene




                                                                                            TX6453
                                                                                               DDX10.37
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 119 of 283
The “Causing Storage” Requirement




                                       ’966 patent (TX0001) at claim 1
                                                                       DDX10.38
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         Invalidity Materials Considered By Dr. Schonfeld

   Sonos Patent Documents                                               Product Documentation

         • ’885 and ’966 Patents                                               • Customer-facing Literature
         • ’885 and ’966 Patents File                                          • Internal Documents
           Histories                                                           • Source Code
         • Claim Construction Material




Sworn Testimony and Admissions                                                Product Testing

         • Testimony from Sonos                                                • Squeezebox
           engineers and inventors                                             • Sonos Prior Art System
           (Lambourne, Millington)
         • Sonos interrogatory responses



                                                                                                              DDX10.39
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    Invalidity Materials Not Considered By Patent Examiner

   Sonos Patent Documents                                               Product Documentation

         • ’885 and ’966 Patents                                               • Customer-facing Literature
         • ’885 and ’966 Patents File                                          • Internal Documents
           Histories                                                           • Source Code
         • Claim Construction Material




Sworn Testimony and Admissions                                                Product Testing

         • Testimony from Sonos                                                • Squeezebox
           engineers and inventors                                             • Sonos Prior Art System
           (Lambourne, Millington)
         • Sonos interrogatory responses



                                                                                                              DDX10.40
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 122 of 283

Claim 1 of ’885 Patent                                                                                                                                                                 Sonos 2005
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                              DDX10.41
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 123 of 283




                                                                       TX0062 at 6
                                                                                     DDX10.42
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 124 of 283

Claim 1 of ’885 Patent                                                                                                                                                                 Sonos 2005
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                              DDX10.44
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 125 of 283




                                                                       TX0062 at 6
                                                                                     DDX10.45
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                                                              TX0062 at 44

                                                                             DDX10.46
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                                                                       DDX10.47
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                                                                       DDX10.48
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                                                                       TX6974 at 5
                                                                               DDX10.49
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                                                                       DDX10.50
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 131 of 283




   Robert
 Lambourne
’885, ’966 Patents
     Inventor

                                                                       TX3923 (Lambourne Decl.)

                                                                                             DDX10.51
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                     Q. The next sentence reads: "Party Mode that currently ships
                        with the product is one example of a zone scene." That is
                        what you wrote; correct?
                     A. That's what I wrote, yes.
                                                  ***
                     Q. Sure. When you say, "Party Mode that currently ships with the
   Robert               product," you were referring to the Party Mode that existed in
 Lambourne              the Sonos prior art 2005 system; correct?
’885, ’966 Patents
     Inventor        A. I was referring to Party Mode of the original product, yes.

                                         5/9/2023 Trial Tr. (Lambourne) at 520:21-521:10

                                                                                            DDX10.52
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                                                             [All Zones –
                                                             Party Mode]




                                                                            DDX10.53
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                                                                [All Zones –
                                                                Party Mode]




Party Mode Group




                                                                               DDX10.54
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Party Mode Group




                                                                          DDX10.55
                                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 136 of 283

Claim 1 of ’966 Patent                                                                                                                                                   Sonos 2005
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                 DDX10.56
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                 Sonos v. Google
Dr. Dan Schonfeld Direct Examination




                                                                             DDX10.1
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                                ’885 Patent, Claim 1 vs. ’966 Patent, Claim 1

                      ’885 Patent, Claim 1                                                            ’966 Patent, Claim 1

[1.5] while operating in a standalone mode in which the first zone player is    [1.4] while serving as a controller for a networked media playback system
configured to play back media individually in a networked media playback        comprising a first zone player and at least two other zone players, wherein
system comprising the first zone player and at least two other zone             the first zone player is operating in a standalone mode in which the first
players:                                                                        zone player is configured to play back media individually:
    [1.6] (i) receiving, from a network device over a data network, a first         [1.5] receiving a first request to create a first zone scene comprising a
    indication that the first zone player has been added to a first zone            first predefined grouping of zone players including at least the first
    scene comprising a first predefined grouping of zone players including          zone player and a second zone player that are to be configured for
    at least the first zone player and a second zone player that are to be          synchronous playback of media when the first zone scene is invoked;
    configured for synchronous playback of media when the first zone                [1.6] based on the first request, i) causing creation of the first zone
    scene is invoked; and                                                           scene, ii) causing an indication of the first zone scene to be
    [1.7] (ii) receiving, from the network device over the data network, a          transmitted to the first zone player, and iii) causing storage of the first
    second indication that the first zone player has been added to a                zone scene;
    second zone scene comprising a second predefined grouping of zone               [1.7] receiving a second request to create a second zone scene
    players including at least the first zone player and a third zone player        comprising a second predefined grouping of zone players including at
    that are to be configured for synchronous playback of media when the            least the first zone player and a third zone player that are to be
    second zone scene is invoked, wherein the second zone player is                 configured for synchronous playback of media when the second zone
    different than the third zone player;                                           scene is invoked, wherein the third zone player is different than the
[1.8] after receiving the first and second indications, continuing to operate       second zone player;
in the standalone mode until a given one of the first and second zone               [1.8] based on the second request, i) causing creation of the second
scenes has been selected for invocation;                                            zone scene, ii) causing an indication of the second zone scene to be
                                                                                    transmitted to the first zone player, and iii) causing storage of the
                                                                                    second zone scene;
                                                                                    [1.9] displaying a representation of the first zone scene and a
                                                                                    representation of the second zone scene; and


                                                                                                                                                                  DDX10.6
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 139 of 283
The “Causing Storage” Requirement




                                       ’966 patent (TX0001) at claim 1
                                                                       DDX10.38
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                                                                       TX6974 at 5
                                                                               DDX10.49
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                                                                       DDX10.50
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Claim 1 of ’966 Patent                                                                                                                                                   Sonos 2005
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                 DDX10.56
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 143 of 283

Claim 1 of ’885 Patent                                                                                                                                                                 Sonos 2005
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:
[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                              DDX10.57
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Party Mode Group




                                                                          DDX10.58
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Claim 1 of ’966 Patent                                                                                                                                                       Sonos 2005
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                   DDX10.59
                                                                                                                                                                                         59
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                                              Save 2nd Group




        Sonos 2005                                Alleged
          System                                 Invention




                                                                       DDX10.60
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Party Mode Group




                                                                          DDX10.61
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 148 of 283                                                             Sonos 2005 +
Claim 1 of ’885 Patent                                                                                                                                                                   POSITA
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                               DDX10.62
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                                                                       TX3698 at 66



                                                                                DDX10.63
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Jan 2005                        2005
Sonos 2005 System               Crestron




             Feb – Sep 2005                                            Dec 2005          Sep 2006
             Sonos Forums                                              Conception Date   Provisional
                                                                                         Filing Date




                                                                       TX3698 at
                                                                       99-100
                                                                                             DDX10.64
                                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 151 of 283
                                                                                                                                                                             Sonos 2005 +
Claim 1 of ’966 Patent                                                                                                                                                         POSITA
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                    DDX10.65
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 152 of 283                                                             Sonos 2005 +
Claim 1 of ’885 Patent                                                                                                                                                                 Sonos Forums
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                               DDX10.66
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 153 of 283




                                                                       TX2424
                                                                                DDX10.67
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                                                               TX3930 at 1




                                                                TX3928 at 3
                                                                              DDX10.68
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 155 of 283




                     Q. So Mr. Greenwood, in this prior public posting
                        about the Sonos 2005 system, was describing the
                        same type of problem that you were trying to
                        solve with zone scenes and suggesting macros,
                        which is a similar solution to what you had in
   Robert               mind for that functionality; correct?
 Lambourne
’885, ’966 Patents   A. In broad terms, yes. As an outcome, yes.
     Inventor

                                                     5/9/2023 Trial Tr. (Lambourne) at 541:2-7


                                                                                            DDX10.69
          Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 156 of 283




                                                                                 TX3930 at 1

                                   Winter Party
Summer Party




                                                                                        DDX10.70
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 157 of 283




                     Q. What Jeff T, the user, was describing in a publicly available
                        Sonos forum posting dated September 22nd, 2005, is
                        having multiple zone scenes that are saved for later;
                        correct?
                     A. Yes.
                                                                   ***
   Robert            Q. And those zone scenes could be overlapping in that they
 Lambourne
’885, ’966 Patents
                        would share a speaker or a ZonePlayer; correct?
     Inventor
                     A. Yes, and in the summer and winter mode he is describing,
                        yes.

                                                 5/9/2023 Trial Tr. (Lambourne) at 539:17-24
                                                                                            DDX10.71
                                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 158 of 283
                                                                                                                                                                             Sonos 2005 +
Claim 1 of ’966 Patent                                                                                                                                                       Sonos Forums
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                    DDX10.72
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 159 of 283                                                             Sonos 2005 +
Claim 1 of ’885 Patent                                                                                                                                                                   Nourse
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                               DDX10.73
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Sep 2002
Nourse




                        Feb – Sep 2005                                            Dec 2005          Sep 2006
                        Sonos Forums                                              Conception Date   Alleged Priority
                                                                                                    Date




                                                                       TX6513
                                                                                                         DDX10.74
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 161 of 283




                         TX6513



                                                                       DDX10.75
                                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 162 of 283
                                                                                                                                                                             Sonos 2005 +
Claim 1 of ’966 Patent                                                                                                                                                         Nourse
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                    DDX10.76
                                                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 163 of 283
                                                                                                                                                                                        Sonos 2005
Claim 1 of ’885 Patent                                                                                                                                                                 + Squeezebox
[1.0] A first zone player comprising:

[1.1] a network interface that is configured to communicatively couple the first zone player to at least one data network;

[1.2] one or more processors;

[1.3] a non-transitory computer-readable medium; and

[1.4] program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the first zone player to perform
functions comprising:

[1.5] while operating in a standalone mode in which the first zone player is configured to play back media individually in a networked media playback system comprising the first
zone player and at least two other zone players:

    [1.6] (i) receiving, from a network device over a data network, a first indication that the first zone player has been added to a first zone scene comprising a first predefined
    grouping of zone players including at least the first zone player and a second zone player that are to be configured for synchronous playback of media when the first zone
    scene is invoked; and

    [1.7] (ii) receiving, from the network device over the data network, a second indication that the first zone player has been added to a second zone scene comprising a second
    predefined grouping of zone players including at least the first zone player and a third zone player that are to be configured for synchronous playback of media when the
    second zone scene is invoked, wherein the second zone player is different than the third zone player;

[1.8] after receiving the first and second indications, continuing to operate in the standalone mode until a given one of the first and second zone scenes has been selected for
invocation;
[1.9] after the given one of the first and second zone scenes has been selected for invocation, receiving, from the network device over the data network, an instruction to operate
in accordance with a given one of the first and second zone scenes respectively comprising a given one of the first and second predefined groupings of zone players; and
[1.10] based on the instruction, transitioning from operating in the standalone mode to operating in accordance with the given one of the first and second predefined groupings of
zone players such that the first zone player is configured to coordinate with at least one other zone player in the given one of the first and second predefined groupings of zone
players over a data network in order to output media in synchrony with output of media by the at least one other zone player in the given one of the first and second predefined
groupings of zone players.


                                                                                                                                                                                               DDX10.77
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                     Q. Yeah. But here you were in November of 2003
                       trying to think about how to design the Sonos
                       2005 prior art system, and you were listing a
                       number of products here. Do you see that?
                     A. Yes.
                     Q. One of the products you listed was Squeezebox;
   Robert
 Lambourne             correct?
’885, ’966 Patents
     Inventor        A. Yes.


                                                 5/9/2023 Trial Tr. (Lambourne) at 556:15-20
                                                                                            DDX10.78
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                                                                       TX3808 at 61
                                                                                  DDX10.79
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 166 of 283


SoftSqueeze is a software version of the Squeezebox speaker




                                                                               DDX10.80
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                                    TX2508




                                                                       DDX10.81
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    TX3007
                                                                       DDX10.82
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 169 of 283




                                                                       DDX10.83
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 170 of 283




  first zone scene



                                                                                            network device




second zone scene




                                                                                                             DDX10.84
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                                                                       DDX10.85
                                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 172 of 283
                                                                                                                                                                              Sonos 2005
Claim 1 of ’966 Patent                                                                                                                                                       + Squeezebox
1.0 A computing device comprising:

1.1 one or more processors;

1.2 a non-transitory computer-readable medium; and

1.3 program instructions stored on the non-transitory computer-readable medium that, when executed by the one or more processors, cause the computing
device to perform functions comprising:

1.4 while serving as a controller for a networked media playback system comprising a first zone player and at least two other zone players, wherein the first zone
player is operating in a standalone mode in which the first zone player is configured to play back media individually:

1.5 receiving a first request to create a first zone scene comprising a first predefined grouping of zone players including at least the first zone player and a second
zone player that are to be configured for synchronous playback of media when the first zone scene is invoked;

1.6 based on the first request, i) causing creation of the first zone scene, ii) causing an indication of the first zone scene to be transmitted to the first zone player,
and iii) causing storage of the first zone scene;

1.7 receiving a second request to create a second zone scene comprising a second predefined grouping of zone players including at least the first zone player and a
third zone player that are to be configured for synchronous playback of media when the second zone scene is invoked, wherein the third zone player is different
than the second zone player;

1.8 based on the second request, i) causing creation of the second zone scene, ii) causing an indication of the second zone scene to be transmitted to the first zone
player, and iii) causing storage of the second zone scene;

1.9 displaying a representation of the first zone scene and a representation of the second zone scene; and

1.10 while displaying the representation of the first zone scene and the representation of the second zone scene, receiving a third request to invoke the first zone
scene; and

1.11 based on the third request, causing the first zone player to transition from operating in the standalone mode to operating in accordance with the first
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the second zone player to output media in synchrony
with output of media by at least the second zone player.

                                                                                                                                                                                    DDX10.86
                                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 173 of 283


’966 dependent Claims 2-4, 6, 8
2. The computing device of claim 1, further comprising program instructions stored on the non-transitory computer-readable medium
that, when executed by the one or more processors, cause the computing device to perform functions comprising:

while the first zone player is configured to coordinate with at least the second zone player to play back media in synchrony with at
least the second zone player, receiving a fourth request to invoke the second zone scene; and

based on the fourth request, causing the first zone player to (a) cease to operate in accordance with the first predefined grouping of
zone players such that the first zone player is no longer configured to coordinate with at least the second zone player to output media
in synchrony with output of media by at least the second zone player and (b) begin to operate in accordance with the second
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the third zone player to
output media in synchrony with output of media by at least the third zone player.
3. The computing device of claim 1, wherein causing storage of the first zone scene comprises causing storage of the first zone scene at
a location other than the computing device, and wherein causing storage of the second zone scene comprises causing storage of the
second zone scene at the location other than the computing device.
4. The computing device of claim 3, wherein the location other than the computing device comprises a zone player of the first
predefined grouping of zone players.

6. The computing device of claim 1, wherein the first predefined grouping of zone players does not include the third zone player, and
wherein the second predefined grouping of zone players does not include the second zone player.

8. The computing device of claim 1, wherein receiving the first request comprises receiving a first set of one or more inputs via a user
interface of the computing device, wherein receiving the second request comprises receiving a second set of one or more inputs via
the user interface, and wherein receiving the third request comprises receiving a third set of one or more inputs via the user interface.

                                                                                                                                            DDX10.87
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 174 of 283




                                                                       DDX10.88
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Party Mode Group




                                                                          DDX10.89
                                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 176 of 283


’966 dependent Claims 2-4, 6, 8
2. The computing device of claim 1, further comprising program instructions stored on the non-transitory computer-readable medium
that, when executed by the one or more processors, cause the computing device to perform functions comprising:

while the first zone player is configured to coordinate with at least the second zone player to play back media in synchrony with at
least the second zone player, receiving a fourth request to invoke the second zone scene; and

based on the fourth request, causing the first zone player to (a) cease to operate in accordance with the first predefined grouping of
zone players such that the first zone player is no longer configured to coordinate with at least the second zone player to output media
in synchrony with output of media by at least the second zone player and (b) begin to operate in accordance with the second
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the third zone player to
output media in synchrony with output of media by at least the third zone player.
3. The computing device of claim 1, wherein causing storage of the first zone scene comprises causing storage of the first zone scene at
a location other than the computing device, and wherein causing storage of the second zone scene comprises causing storage of the
second zone scene at the location other than the computing device.
4. The computing device of claim 3, wherein the location other than the computing device comprises a zone player of the first
predefined grouping of zone players.

6. The computing device of claim 1, wherein the first predefined grouping of zone players does not include the third zone player, and
wherein the second predefined grouping of zone players does not include the second zone player.

8. The computing device of claim 1, wherein receiving the first request comprises receiving a first set of one or more inputs via a user
interface of the computing device, wherein receiving the second request comprises receiving a second set of one or more inputs via
the user interface, and wherein receiving the third request comprises receiving a third set of one or more inputs via the user interface.

                                                                                                                                            DDX10.90
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 177 of 283




                                                                       TX0062 at 6
                                                                                     DDX10.91
                                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 178 of 283


’966 dependent Claims 2-4, 6, 8
2. The computing device of claim 1, further comprising program instructions stored on the non-transitory computer-readable medium
that, when executed by the one or more processors, cause the computing device to perform functions comprising:

while the first zone player is configured to coordinate with at least the second zone player to play back media in synchrony with at
least the second zone player, receiving a fourth request to invoke the second zone scene; and

based on the fourth request, causing the first zone player to (a) cease to operate in accordance with the first predefined grouping of
zone players such that the first zone player is no longer configured to coordinate with at least the second zone player to output media
in synchrony with output of media by at least the second zone player and (b) begin to operate in accordance with the second
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the third zone player to
output media in synchrony with output of media by at least the third zone player.
3. The computing device of claim 1, wherein causing storage of the first zone scene comprises causing storage of the first zone scene at
a location other than the computing device, and wherein causing storage of the second zone scene comprises causing storage of the
second zone scene at the location other than the computing device.
4. The computing device of claim 3, wherein the location other than the computing device comprises a zone player of the first
predefined grouping of zone players.

6. The computing device of claim 1, wherein the first predefined grouping of zone players does not include the third zone player, and
wherein the second predefined grouping of zone players does not include the second zone player.

8. The computing device of claim 1, wherein receiving the first request comprises receiving a first set of one or more inputs via a user
interface of the computing device, wherein receiving the second request comprises receiving a second set of one or more inputs via
the user interface, and wherein receiving the third request comprises receiving a third set of one or more inputs via the user interface.

                                                                                                                                            DDX10.92
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 179 of 283




                                  Master Bedroom


    first zone scene




Living Room




                                        Dining Room




       second zone scene



                                                                                              DDX10.93
                                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 180 of 283


’966 dependent Claims 2-4, 6, 8
2. The computing device of claim 1, further comprising program instructions stored on the non-transitory computer-readable medium
that, when executed by the one or more processors, cause the computing device to perform functions comprising:

while the first zone player is configured to coordinate with at least the second zone player to play back media in synchrony with at
least the second zone player, receiving a fourth request to invoke the second zone scene; and

based on the fourth request, causing the first zone player to (a) cease to operate in accordance with the first predefined grouping of
zone players such that the first zone player is no longer configured to coordinate with at least the second zone player to output media
in synchrony with output of media by at least the second zone player and (b) begin to operate in accordance with the second
predefined grouping of zone players such that the first zone player is configured to coordinate with at least the third zone player to
output media in synchrony with output of media by at least the third zone player.
3. The computing device of claim 1, wherein causing storage of the first zone scene comprises causing storage of the first zone scene at
a location other than the computing device, and wherein causing storage of the second zone scene comprises causing storage of the
second zone scene at the location other than the computing device.
4. The computing device of claim 3, wherein the location other than the computing device comprises a zone player of the first
predefined grouping of zone players.

6. The computing device of claim 1, wherein the first predefined grouping of zone players does not include the third zone player, and
wherein the second predefined grouping of zone players does not include the second zone player.

8. The computing device of claim 1, wherein receiving the first request comprises receiving a first set of one or more inputs via a user
interface of the computing device, wherein receiving the second request comprises receiving a second set of one or more inputs via
the user interface, and wherein receiving the third request comprises receiving a third set of one or more inputs via the user interface.

                                                                                                                                            DDX10.94
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 181 of 283




                                                                       DDX10.95
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 182 of 283




                                                                TX6780 at 1 and 3
                                                                                DDX10.96
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 183 of 283




                                                                       TX0115 at 1-2
                                                                                  DDX10.97
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 184 of 283




                                                                                                  TX6016

Agreement with Outland Research LLC


                                                                                                      DDX10.98
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 185 of 283




                                                                       TX2675
                                                                                DDX10.99
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 186 of 283




  Chris Bakewell, ASA, CLP
Reasonable Royalties and Licensing




                                                                       DDX12.1
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 187 of 283




                                             ‘966                            ‘885
                                       Nov 2019                              Nov 2020 -
                                  - Nov 15, 2022           TX0001   TX0003   Sept 30, 2022




2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023 2024 2025 2026 2027




Bakewell Report, pp. 55-60; Slide 13 to Bakewell Report.                                                DDX12.2
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 188 of 283




                                             ‘966                                ‘885
                                       Nov 2019                                  Nov 2020 -
                                  - Nov 15, 2022               TX0001   TX0003   Sept 30, 2022
Google released
Chromecast                                                                                                 ‘885 and ‘966
July 2013                                                                                                    set to expire
                                                                                                        September 2027


2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023 2024 2025 2026 2027




                                                           Sonos begins practicing
                                                               ‘885 and ‘966
                                                                 June 2020
Bakewell Report, pp. 55-60; Slide 13 to Bakewell Report.                                                             DDX12.3
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 189 of 283




                    Cost                                 Income                              Market




Bakewell Report, pp. 60-213.                                                                          DDX12.4
                               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 190 of 283




                    Cost                                 Income                              Market




Bakewell Report, pp. 146-169                                                                          DDX12.5
 Non-Infringing Alternatives (“NIAs”)
                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 191 of 283




                                           •     Patents-in-suit have economic boundaries


                                           • Commercially acceptable

                                           •     Real-world evidence


                                           •     Mr. Malackowski made no allowance for
                                                 this




Bakewell Report, pp. 146-169.                                                                          DDX12.7
                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 192 of 283




                    Cost                                  Income                              Market




Bakewell Report, pp. 104-146.                                                                          DDX12.9
                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 193 of 283




           “The extent to which the infringer has
               made use of the invention, and any
                  evidence probative of the value of
                                                     that use.”



Bakewell Report, p. 247, FN 1254.                                                                      DDX12.10
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 194 of 283




     U.S. devices in a group (daily)                                                                    0.554%


     U.S. devices in a group (monthly)                                                                  2.752%




     U.S. devices that joined a static group (daily)                                                    0.022%




Bakewell Report, pp. 216-218, Exhibit 4.3 and 4.4.                                                          DDX12.11
                                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 195 of 283




                    Cost                                  Income                              Market




Bakewell Report, pp. 169-213.                                                                          DDX12.12
                                               Outland – Google Agreement
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 196 of 283

                                                       (15.5 years)
 Jul                                                                                                               Jan
2011                                                                                                              2027
                                                                                 ‘885 hypothetical license
                                                                                        (6.8 years)
                                                                        Nov                                        Sept
                                                                        2020                                       2027
                                                                             ‘966 hypothetical license
                                                                                    (7.9 years)
                                                                Nov                                                Sept
                                                                2019                                               2027

                                                  ‘966 issued                ‘885 issued                ‘885 and ‘966
                                                                                                         set to expire


2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023 2024 2025 2026 2027


Bakewell Report p. 198, Exhibit 5.0 and 5.2.                                                                        DDX12.13
 Royalty Reports
                                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 197 of 283




                           Lenbrook                                                    Legrand
                          (Bluesound)                                             (Pass & Seymour)


                                       Worldwide           U.S.                                Worldwide        U.S.
                                        Royalty           Royalty                               Royalty        Royalty
       Time Period                     Payments          Payments         Time Period          Payments       Payments
 Jan 2019- Sep 2020                           $782,379     $359,210   Jan 2019- Sep 2020           $206,317     $184,425
 Oct 2020- Dec 2020                            277,430      127,116   Oct 2020- Dec 2020             18,637       15,336
 Jan 2021- Mar 2021                            147,304       68,100   Jan 2021- Mar 2021             17,190       12,924
 Apr 2021- Jun 2021                            173,565       80,706   Apr 2021- Jun 2021             16,885       12,576
 Jul 2021- Sep 2021                            295,897      148,804   Jul 2021- Sep 2021             18,769       13,740
 Total                                 $1,676,575        $783,936     Total                      $277,798     $239,001




Bakewell Report, pp. 172-176; Exhibit 7.0-Exhibit 7.1.                                                             DDX12.14
 Georgia Pacific Factors
                                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 198 of 283




     1.                 Factors
           Royalties received        1 and
                              by the patentee                2: Comparable 9.agreements
                                                                                Utility and advantages of the patent over old
     2.    Rates paid by the licensee for the use of other                            modes or devices
           comparable patents                            10. Nature, character and benefits of the patented
     3.
                       Factor     3:   Nature
           Nature and scope of the license
                                              and scope of license
                                                              invention to users
     4.    Licensor’s established policy and marketing                            11. Extent of use and evidence probative of the
           program      Factor 5: Competition                                         value of that use
     5.    Commercial relationship between                                        12. Portion of profit customary to allow for use of
           the licensor and licensee                                                  the patented invention
     6.                  Factors
           Effect as a generator      9 and
                                 of sales on                 10: Prior art and alternative technologies
                                                                                  13. Portion of profit that should be credited to the
           non-patented items                                                         patented invention
     7.
                         Factor 11: Usage
           Duration of the patent and term
           of the license                                                         14. Expert opinions

     8.    Profitability, commercial success and popularity                       15. The hypothetical negotiation between licensor
           of products madeFactor
                              under13:    Apportionment
                                      patent                                          and licensee




Bakewell Report, pp. 221-268; Slide 35 to Bakewell Report.                                                                          DDX12.17
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 199 of 283




                                                                       DDX11.1
             Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 200 of 283




CHROMECAST             CHROMECAST                       CHROMECAST                   CHROMECAST
                          AUDIO                            ULTRA                    WITH GOOGLE TV
   $50                       $35                                $70                       $50




                                                                                                     DDX11.2
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 201 of 283




          NEST AUDIO                     NEST MINI

              $100                           $50




                                                                       DDX11.3
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 202 of 283




         NEST HUB                          NEST HUB MAX

               $80                               $230




                                                                       DDX11.4
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 203 of 283




                       NEST WIFI POINT

                               $150




                                                                       DDX11.5
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 204 of 283




 Google’s Closing Statement




                                                                       DDX14.1
      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 205 of 283
Four Out of Six Patents Invalidated Or Withdrawn

                        ’615               ’033              ’206             ’460       ’966/’855




                       Invalid as        Invalid as       Withdrawn          Withdrawn
                        obvious           obvious




                                                                                                DDX14.2
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 206 of 283
    Evidence Presented To Jury




                                                                              Testimony




                                                                              Software




                                                           Product Testing   Source Code




                                                                                           DDX14.3
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 207 of 283




      The Patents Are Invalid




                                                                       DDX14.4
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 208 of 283
                   Party Mode In Sonos 2005 System Was a “Zone Scene”

                                     Jury Instruction #20:
     Sonos 2005 system is prior art because it was shipped to customers as early as 2005


                           Q. The next sentence reads: "Party Mode that currently ships
                              with the product is one example of a zone scene." That is
                              what you wrote; correct?
                           A. That's what I wrote, yes.
                                                        ***
                           Q. Sure. When you say, "Party Mode that currently ships with the
      Robert                  product," you were referring to the Party Mode that existed in
    Lambourne                 the Sonos prior art 2005 system; correct?
   ’885, ’966 Patents
        Inventor           A. I was referring to Party Mode of the original product, yes.

Transcript at 520:21-521:10
                                                                                                  DDX14.5
                   Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 209 of 283
   Lambourne 2005-2006 Business Record: 2005 Party Mode Is Zone Scene




TX6544
                                                                                          DDX14.6
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 210 of 283
                   Party Mode In Sonos 2005 System Was a “Zone Scene”

                                     Jury Instruction #20:
     Sonos 2005 system is prior art because it was shipped to customers as early as 2005


                          Q. If you can answer my question, Mr. Lambourne. Between
                             your recollection sitting here today trying to remember
                             what happened 17 years ago versus a business record that
                             you created, last modified January 19th, 2006, in your
                             opinion which is a better and more reliable source of what
                             actually happened in the January timeframe of 2006?
      Robert
    Lambourne             A. In the document -- the document would be more reliable.
   ’885, ’966 Patents
        Inventor


Transcript at 627:6-12
                                                                                                  DDX14.7
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 211 of 283
         Examiner Never Considered Actual Conception Documents
  Provisional Application: Appendix A

                                                                              Zone Scene UI Spec

                                                                                                   TX6545




TX2651
                                                                                                       DDX14.78
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 212 of 283
         Examiner Never Considered Actual Conception Documents
   Provisional Application: Appendix B

                                                                            Alarm Clock UI Spec


                                                                                                  TX6544




TX2651
                                                                                                      DDX14.79
               Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 213 of 283
Only Thing Missing From Sonos 2005 System Was Another Zone Scene



                                                             Save 2nd Group




                       Sonos 2005                                Alleged
                         System                                 Invention




                                                                                      DDX14.8
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 214 of 283
    Prior Art Forum Posts Disclosed Saving Another Zone Scene For Later

                                   Jury Instruction #20:
         Sonos forum posts that expressly predate December 21, 2005 are prior art.




TX2424
                                                                                               DDX14.9
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 215 of 283
          Prior Art Forum Posts Disclosed Overlapping Zone Scenes

                                 Jury Instruction #20:
       Sonos forum posts that expressly predate December 21, 2005 are prior art.




TX3928 at 1
                                                                                             DDX14.10
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 216 of 283
  Prior Art Forum Posts Overlapping Zone Scenes That Can Be Saved For Later

                                      Jury Instruction #20:
            Sonos forum posts that expressly predate December 21, 2005 are prior art.

                           Q. What Jeff T, the user, was describing in a publicly available
                              Sonos forum posting dated September 22nd, 2005, is having
                              multiple zone scenes that are saved for later; correct?
                           A. Yes.
                                                                        ***
                           Q. And those zone scenes could be overlapping in that they
      Robert                  would share a speaker or a ZonePlayer; correct?
    Lambourne
   ’885, ’966 Patents      A. Yes, and in the summer and winter mode he is describing,
        Inventor              yes.

Transcript at 539:17-24
                                                                                                  DDX14.11
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 217 of 283
          Prior Art Forum Posts Disclosed Same Solution as Mr. Lambourne

                                      Jury Instruction #20:
            Sonos forum posts that expressly predate December 21, 2005 are prior art.



                          Q. They were also suggesting macros, sir. Macros is one
                             of the solutions that you had in mind for carrying out
                             your zone scenes on a computer; correct?
                          A. Yes.

      Robert
    Lambourne
   ’885, ’966 Patents
        Inventor


Transcript at 542:9-12
                                                                                                  DDX14.12
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 218 of 283
       Prior Art Forum Posts Disclosed Claimed Solution Using Macros

                                 Jury Instruction #20:
       Sonos forum posts that expressly predate December 21, 2005 are prior art.




TX3928 at 3
                                                                                             DDX14.13
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 219 of 283
           Prior Art Forum Posts Disclosed Claimed Solution Using Macros

                                      Jury Instruction #20:
            Sonos forum posts that expressly predate December 21, 2005 are prior art.


                           Q. So Mr. Greenwood, in this prior public posting
                              about the Sonos 2005 system, was describing the
                              same type of problem that you were trying to
                              solve with zone scenes and suggesting macros,
                              which is a similar solution to what you had in
      Robert
                              mind for that functionality; correct?
    Lambourne
   ’885, ’966 Patents
                           A. In broad terms, yes. As an outcome, yes.
        Inventor


Transcript at 541:2-7
                                                                                                  DDX14.15
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 220 of 283
                           Jury Instructions on Obviousness



                                        Jury Instruction #21:
   A patent claim is invalid if the claimed invention would have been obvious to a person of
ordinary skill in the art at the time the claimed invention was made. In other words, even if the
 claimed invention was new in the sense that it had never been described before in the prior
  art, it might nevertheless be true (or not true) that the claimed invention would have been
     obvious to a person having ordinary skill in the art with knowledge of all the prior art.



                                     Jury Instruction #19:
 On the other hand, cursory detail may indicate that the inventor expected those of ordinary
skill in the art would already know enough to practice that point with only minimal disclosure.



                                                                                                DDX14.16
Sonos’s Patents Provide    Very ThinDocument
                    Case 3:20-cv-06754-WHA Disclosure       of Previously
                                               768-1 Filed 05/23/23 Page 221 of 283 Saving Zone Scenes
                   “While Operating In Standalone Mode”



                              Setup




                           Invocation




’885 Patent at Fig. 6, 10:42-44                                                     TX3928 at 1
                                                                                                 DDX14.17
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 222 of 283
Jury Verdict Form Question On Invalidity of ’885 Claim


                        Jury Verdict Form #1:




                                                                               DDX14.18
         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 223 of 283
Jury Verdict Form Question On Invalidity of ’966 Claims

                         Jury Verdict Form #3:




                                                                                DDX14.19
                                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 224 of 283
                            Dr. Almeroth Did Not Rebut Most of the Prior Art

                                                                                              Jan 2005
                                 PRIOR ART                                           Sonos 2005 System
                                                                                                                          Nov 2005
                                                                                                                        Squeezebox




                                   Sep 2002                                   2004         July 2004         Feb – Sep 2005
        Dan Schonfeld              Nourse                                                  Bose
                                                                              Yamaha                         Sonos Forums
         Technical Expert




                                2002                   2003                            2004                           2005




       Kevin                    UNREBUTTED                                           UNREBUTTED          UNREBUTTED          UNREBUTTED
    Almeroth
Technical Expert


                                                                                                                                 DDX14.77
                   Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 225 of 283
  Examiner Took Official Notice That Saving Groups For Later Was Obvious




TX0004 at 4577
                                                                                          DDX14.20
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 226 of 283
   Examiner Found Yamaha DME Disclosed Saving Zone Scenes For Later




TX0004 at 4577
                                                                                         DDX14.21
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 227 of 283
 Sonos Admitted That Yamaha DME Disclosed Saving Zone Scenes For Later




TX0004 at 823
                                                                                         DDX14.22
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 228 of 283
      Yamaha DME Prior Art Disclosed Storing Up To 999 Zone Scenes




TX2426 at 55
                                                                                         DDX14.23
                                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 229 of 283
                            Bose Prior Art Disclosed Overlapping Zone Groups




     Multi-room Interface   Personal Media Center                                                          Multi-room Interface   Personal Media Center


       ROOM A                    ROOM B                Room                               House             ROOM A                     ROOM B
                                                       button                             button

   Jewel Cube Speakers Jewel Cube Speakers                                                              Jewel Cube Speakers Jewel Cube Speakers

       ROOM C                    ROOM D                                                                     ROOM C                     ROOM D


   Jewel Cube Speakers Jewel Cube Speakers                                                              Jewel Cube Speakers Jewel Cube Speakers
TX6000 at 7, 10, 44
                                                                                                                                                          DDX14.24
                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 230 of 283
          Examiner Found That Bose Prior Art Had Party Mode




TX0006 at 5850
                                                                                        DDX14.25
                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 231 of 283
         Nourse Prior Art Disclosed Storing Overlapping Groups




TX6513
                                                                                        DDX14.26
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 232 of 283
     Squeezebox Prior Art Disclosed Storing Overlapping Zone Scenes




TX3808 at 61
                                                                                         DDX14.27
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 233 of 283
       Squeezebox Prior Art Disclosed Storing Overlapping Zone Scenes



                          first zone scene


                                                                                           network device
Dan Schonfeld
Technical Expert




                       second zone scene




                                                                                                      DDX14.28
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 234 of 283
       Squeezebox Prior Art Disclosed Storing Overlapping Zone Scenes




Dan Schonfeld
Technical Expert




                                                                                           DDX14.29
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 235 of 283
                   Dr. Schonfeld Proved That ’885 Claim 1 Is Invalid

                                      Sonos 2005             Sonos 2005             Sonos 2005    Sonos 2005
                                       + POSITA            + Sonos Forums            + Nourse    + Squeezebox
                             1.0
                             1.1
                             1.2
                             1.3
Dan Schonfeld
Technical Expert             1.4
                             1.5
                             1.6
                             1.7
                             1.8
                             1.9
                           1.10


                                                                                                                DDX14.30
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 236 of 283
                   Dr. Schonfeld Proved That ’966 Claim 1 Is Invalid
                                      Sonos 2005             Sonos 2005             Sonos 2005    Sonos 2005
                                       + POSITA            + Sonos Forums            + Nourse    + Squeezebox
                             1.0
                             1.1
                             1.2
                             1.3
Dan Schonfeld                1.4
Technical Expert
                             1.5
                             1.6
                             1.7
                             1.8
                             1.9
                           1.10
                           1.11

                                                                                                                DDX14.31
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 237 of 283
        Dr. Schonfeld Proved That All ’966 Dependent Claims Are Invalid


                               Sonos 2005
                                + POSITA
                      2.0
                      2.1
                      2.2
                        3
                        4
                        6
  Dan Schonfeld
   Technical Expert     8




TX0062 at 6
                                                                                             DDX14.32
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 238 of 283




                                                                       DDX14.33
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 239 of 283




                                                                       DDX14.34
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 240 of 283
Dr. Almeroth Failed to Present Any Secondary Considerations of Non-Obviousness




                                • 2020 news coverage no link to overlapping zone
                                  scenes
                                • Non-prior art forum posts in 2016 only show
                                  perceived lack of value of alleged invention and
                                  15-year delay by Sonos
  Kevin Almeroth
    Technical Expert



                                                                                              DDX14.80
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 241 of 283
       2006 Non-Prior Art Forum Posts Confirm Expectation of Success




TX2425 at 4
                                                                                           DDX14.81
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 242 of 283
       2016 Non-Prior Art Forum Posts Confirm Expectation of Success




TX6958 at 5
                                                                                           DDX14.82
Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 243 of 283




The Patents Are Not Infringed




                                                                       DDX14.35
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 244 of 283
                       Jury Instructions On Infringement

                                    Jury Instruction #29:
If, however, the accused product is missing even one requirement of the asserted claim, the
                    accused product does not directly infringe that claim.

                                      Jury Instruction #34:
If there is no direct infringement by anyone, there can be no induced infringement. As with
 direct infringement, you must determine induced infringement on a claim-by-claim basis.
                 In order to be liable for inducing infringement, Google must:
            (1) Have intentionally taken action that actually induced infringement;
            (2) Have been aware of the ’966 patent; and
            (3) Have known that the acts it was causing would infringe the patent.

                                 Jury Instruction #35:
A “common component suitable for non-infringing use” is a component that has uses other
  than as a component of the patented product, and those other uses are not occasional,
                 farfetched impractical, experimental, or hypothetical.
                                                                                              DDX14.36
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 245 of 283
Sonos’s Claims Are Written As An All-Or-Nothing Test


                                            While operating in drive mode:
                                                    Checking mirrors

                                                    Checking blind spot

                                                    Using turn signal

                                                    Yielding the right-of-way

                                                    Observing pedestrians

                                                    Following speed limit

                                                                                DDX14.37
                                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 246 of 283
  Both ’885 and ’966 Patents Require “Operating In a Standalone Mode”

                      ’885 Patent, Claim 1                                                            ’966 Patent, Claim 1

[1.5] while operating in a standalone mode in which the first zone player is    [1.4] while serving as a controller for a networked media playback system
configured to play back media individually in a networked media playback        comprising a first zone player and at least two other zone players, wherein
system comprising the first zone player and at least two other zone             the first zone player is operating in a standalone mode in which the first
players:                                                                        zone player is configured to play back media individually:
    [1.6] (i) receiving, from a network device over a data network, a first         [1.5] receiving a first request to create a first zone scene comprising a
    indication that the first zone player has been added to a first zone            first predefined grouping of zone players including at least the first
    scene comprising a first predefined grouping of zone players including          zone player and a second zone player that are to be configured for
    at least the first zone player and a second zone player that are to be          synchronous playback of media when the first zone scene is invoked;
    configured for synchronous playback of media when the first zone                [1.6] based on the first request, i) causing creation of the first zone
    scene is invoked; and                                                           scene, ii) causing an indication of the first zone scene to be
    [1.7] (ii) receiving, from the network device over the data network, a          transmitted to the first zone player, and iii) causing storage of the first
    second indication that the first zone player has been added to a                zone scene;
    second zone scene comprising a second predefined grouping of zone               [1.7] receiving a second request to create a second zone scene
    players including at least the first zone player and a third zone player        comprising a second predefined grouping of zone players including at
    that are to be configured for synchronous playback of media when the            least the first zone player and a third zone player that are to be
    second zone scene is invoked, wherein the second zone player is                 configured for synchronous playback of media when the second zone
    different than the third zone player;                                           scene is invoked, wherein the third zone player is different than the
[1.8] after receiving the first and second indications, continuing to operate       second zone player;
in the standalone mode until a given one of the first and second zone               [1.8] based on the second request, i) causing creation of the second
scenes has been selected for invocation;                                            zone scene, ii) causing an indication of the second zone scene to be
                                                                                    transmitted to the first zone player, and iii) causing storage of the
                                                                                    second zone scene;
                                                                                    [1.9] displaying a representation of the first zone scene and a
                                                                                    representation of the second zone scene; and


                                                                                                                                                                DDX14.38
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 247 of 283
 New Products: No “Operating In Standalone Mode” When Invoking Group

                                                       • “Operating in standalone mode” =
                                                         continuous output of media
                                                       • Examiner and Dr. Schonfeld agree
                                                       • No dispute that new products do
                                                         not output any media when request
                                                         to invoke a group is received




                                                                            Music STOPS before
’885 Patent, Claim 1                                                         group is invoked
                                                                                                 DDX14.39
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 248 of 283
 New Products: No “Operating In Standalone Mode” When Invoking Group

                                                       • “Operating in standalone mode” =
                                                         continuous output of media
                                                       • Examiner and Dr. Schonfeld agree
                                                       • No dispute that new products do
                                                         not output any media when request
                                                         to invoke a group is received




                                                                            Music STOPS before
’966 Patent, Claim 1                                                         group is invoked
                                                                                                 DDX14.40
                 Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 249 of 283
Sonos Added “Operating In Standalone Mode” To Get Around Yamaha DME




                                                                                    Yamaha DME Manual




TX0006 at 4102, 4087
                                                                                                        DDX14.41
                  Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 250 of 283
 Examiner: “Operating In Standalone Mode” = Continuous Output of Media




                                                                                         Yamaha DME Manual




                                                                                          Music STOPS before
                                                                                           group is invoked
TX0006 at 5850
                                                                                                               DDX14.42
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 251 of 283
           Google Does Not Infringe For the Same Reason as Yamaha DME


                   Q. So, Mr. MacKay, with respect to
                      the StopCurrentApp function,
                      that function causes a player
                      that's actively playing audio to
                      stop playing audio when it's
                      added to a new static group; is
                      that correct?
  Ken Mackay
 Google Software   A. It not only stops playing audio, it
    Engineer
                      actually kills the entire app.

                                                                                               Music STOPS before
                                                                                                group is invoked
Transcript at 1282:25-1283:5
                                                                                                                    DDX14.43
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 252 of 283
Patent Examiner & Dr. Schonfeld vs. Dr. Almeroth

     “while operating in a standalone mode”




                                 vs
  Kevin Almeroth
   Technical Expert
                                                               Dan Schonfeld
                                                                Technical Expert


                                                                                   DDX14.44
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 253 of 283
                      Dr. Almeroth: Claims Only Allow For Two Modes

                          A. But the reality is the claim talks about two
                             modes: You're either in group mode where
                             you're synchronized to play in group mode or
                             you're not, you're in standalone mode.


                                                                                         STANDALONE
  Kevin Almeroth
   Technical Expert
                                                                                              GROUP



Transcript at 1282:25-1283:5
                                                                                                      DDX14.45
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 254 of 283
 Dr. Almeroth: No Infringement If Group Is Invoked In Mode Other Than Standalone Mode



                      Q. And if the jury were to agree with Google and Dr.
                         Schonfeld that this invocation step or functionality in
                         the new design for the Google product is happening in
                         a mode other than standalone mode, if the jury agrees
                         with that, then you would agree that there is no
                         infringement of claim 1 of the '885 patent for the new
                         design; correct?
  Kevin Almeroth
   Technical Expert   A. I think if they agree with Dr. Schonfeld, then there's
                         not going to be infringement for the redesign.


Transcript at 986:15-22
                                                                                               DDX14.46
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 255 of 283
       New Products: Group Is Invoked In Idle Mode, Not Standalone Mode



                    Q. And is that launch or invocation of a group occurring
                       when the speaker is in standalone mode?
                    A. No.
                    Q. What mode of operation are all the speakers that
                       you’re adding to the group in when you're launching a
                       group for music playback?
  Ken Mackay
  Google Software   A. They would be in idle mode.
     Engineer




Transcript at 1258:8-14
                                                                                                DDX14.47
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 256 of 283
     New Products: Group Is Invoked In Idle Mode, Not Standalone Mode




                                                                                                 IDLE

                                                                                              STANDALONE
                              Playin
Ken Mackay                    gLiving Room
                               speaker
                                                                   “Launch”
                                                                   Command
Google Software
   Engineer
                   DOWNSTAIRS                                                                   GROUP

                  DOWNSTAI
                  RS




                                                                           DOWNSTAIRS


                                                                                                           DDX14.49
       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 257 of 283
New Products Do Not Infringe ’885 and ’966 Patents




                                                                                 IDLE
         STANDALONE

                                                                              STANDALONE
              GROUP

                                                                                GROUP




                                                                                           DDX14.50
                          Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 258 of 283
             Google’s New Products Do Not Infringe Claim 1 of ’885 Patent

                      Q. Do the Google new design products invoke or launch group
                         mode when they're still operating in standalone mode?
                      A. No. You have to leave operation in standalone mode before
                         you can launch or invoke any particular group in synchrony.
                         You cannot do it in the new design while operating in
                         standalone mode.
                      Q. Does that mean there's no infringement
  Dan Schonfeld          of any of the asserted claims for the
   Technical Expert      new design?
                      A. In my view, there is no infringement of
                          any of the asserted claims, no.
                                                                                                 Music STOPS before
                                                                                                  group is invoked
Transcript at 1366:24-1367:9
                                                                                                                 DDX14.51
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 259 of 283
     ’966 Patent: Dr. Almeroth Accused Home Apps Without Any Speakers

                      Q. So given that, Dr. Almeroth, how many devices
                         would be required to infringe claim 1 of the '966
                         patent?
                      A. Just one device as long as it had the program
                         instructions required of the claims.
                                               ***
                      Q. If there are no speakers connected to the network
  Kevin Almeroth         to the phone, you cannot physically form two
   Technical Expert
                         overlapping groups of speakers; correct?
                      A. You won't use that source code if there aren't the
                         speakers to group.
Transcript at 766:25-767:3, 1687:15-19
                                                                                              DDX14.52
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 260 of 283
Jury Instruction #28: Home App Cannot Infringe Without At Least Three Speakers



           First, with respect to the ’966 accused products, I have determined that the mere
           installation of the Google Home app on a computing device does not itself infringe. The
           claim language does not recite any functions to be performed by the accused products
           unrelated to those computing devices “serving as a controller.” Significantly, a
           computing device is not capable of serving as a controller unless it is networked with at
           least three zone players that may be added to overlapping zone scenes. Until, if ever, a
           computing device with the Google Home app installed is networked with at least three
           zone players that may be added to overlapping zone scenes using the Google Home app,
           it cannot fall within the claims of the ’966 patent. And Google is not capable of
           infringing unless a computing device is networked with at least three zone players that
           may be added to overlapping scenes using the Google Home app. I instruct you that
           only computing devices networked with at least three zone players that may be added to
           overlapping zone scenes using the Google Home app qualify for consideration.


                                                                                                       DDX14.53
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 261 of 283
Court’s Construction of “Zone Scene” Requires “Previously-Saved Grouping”




        Claim Term                 Sonos Patents                              Court’s Construction

 “zone scene”                        ’885 Patent               “a previously-saved grouping of zone
                                     ’966 Patent               players according to a common theme”


 “indication that the first          ’885 Patent               “indication from the network device
 zone player has been                                          that the [first] zone player has been
 added to a zone scene”                                        added by the user to a zone scene”


                                                                                                       DDX14.54
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 262 of 283
    All Products: No “Causing Storage” Of Zone Scenes For Later Invocation

                                                            • “Causing storage of” zone scenes =
                                                              causing persistent storage of group
                                                              membership for later invocation
                                                            • All products do not store group
                                                              membership for later playback


                                                                                                  A
                                                                                                  C
                                                                                                  A
                                                                                     Zone Scene
                                                                                     NOT saved
’966 Patent, Claim 1
                                                                                                      DDX14.55
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 263 of 283
             Google Developed Innovative Non-Infringing ACA Technology

                    Q. So in this ACA technology, is there a need to store
                       actual grouping or membership information of the
                       speakers at the time the group is created so that
                       later you can use it to play music on a group?
                    A. No. We only store the ID and name.
  Ken Mackay
  Google Software
     Engineer
                                                                                               A
                                                                                               C
                                                                                               A
                                                                                  Zone Scene
                                                                                  NOT saved
Transcript at 1253:24-1254:3
                                                                                                   DDX14.56
            Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 264 of 283
 Google’s ACA: Only Uses Current Group Leader For Playback


Adaptive Continuous Automatic




                                                                                   DDX14.57
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 265 of 283
  Google Speakers: No Membership Information Is Stored For Later Playback

                     Q. Does that random string ID contain any information about the
                     actual grouping or the identity of members of a group?
                     A. No, it doesn't contain information about the identity of the
                     members.
                     Q. The next is "Name." Do you see that?
                     A. Yes.
                     Q. What is that indicating?
                     A. That's the name that the user assigned to the group.
                     Q. And, again, does that name contain any information about the
   Ken Mackay
   Google Software   actual grouping or membership information of a group?
      Engineer       A. No, it does not.



Transcript at 1243:23-1244:8
                                                                                             DDX14.58
                           Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 266 of 283
         Home App: No Membership Information Is Used For Later Playback



                      Q. The information that's kept in the cache, is that ever
                         used to actually allow a user to play back music to a
                         particular group?
                      A. So the membership information in the cache is never
                         used for playback purposes.

  Justin Pedro
 Google Engineering
     Manager




Transcript at 1314:4-8
                                                                                                  DDX14.59
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 267 of 283
Google’s Independent & Prior Development of Speaker Group Functionality




 March
                                                                                                   December 2015
                        Ken          Tavis                                                         Product release
                       MacKay       MacLellan


                          Development                                         Final Approval and Release

                                                     2015



                                              May 8, 2015 | Source code written for “Join Group”
                           March 30, 2015 | Design doc
               March 26, 2015 | Source Code approval
         March 18, 2015 | Initial source code written

                                                                                                                     DDX14.60
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 268 of 283


March 30, 2015 | Design doc


 Option 1




 Option 4




TX6454
                                                                                       DDX14.61
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 269 of 283


March 30, 2015 | Design doc
                    Q. What was the first option that you considered for the
                      grouping technology for Google?
                    A. So in this option, all of the devices in a group would have
   Ken Mackay          to be present whenever you change the group
  Google Software
     Engineer
                       configuration and you would have to store all of the
                       group members somewhere.
                                                        Transcript at 1239:20-24

     Option 1


TX6454
                                                                                              DDX14.62
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 270 of 283


March 30, 2015 | Design doc
                     Q. A priori knowledge, can you explain to the jury what you
                       meant by that statement?
                     A. So that means that devices -- each device doesn't know --
   Ken Mackay
                        doesn't have stored information about what other
   Google Software      members of the group exist so it doesn't know which
      Engineer
                        other devices are members of that group.
                                                                      Transcript at 1240:23-1241:3
 Option 4



TX6454
                                                                                                DDX14.63
                        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 271 of 283


March 30, 2015 | Design doc
                     Q. And what did you mean by that?
                     A. I thought that this choice -- I thought that Option 4 had
                        the best tradeoffs, and this is the option that we
   Ken Mackay           ultimately implemented.
   Google Software
      Engineer
                                                                               Transcript at 1241:10-13


 Option 4



TX6454
                                                                                                     DDX14.64
                         Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 272 of 283
     Google’s New & Old Products Do Not Infringe Any Claim of ’966 Patent

                     Q. Based on that understanding and the review of all the
                        evidence, what is your opinion on whether the causing storage
                        of the first zone scene, the first zone scene that you created at
                        the time of creation, is satisfied in claim 1 of the ‘966 patent?
                     A. So as I understand it, the first -- storage of
                        the first zone scene would require
                        persistent storage of the membership; and
                        as I just mentioned, that is not done
  Dan Schonfeld         because you only store the name and the
  Technical Expert
                        identifier of the group and, therefore,                                              A
                                                                                                             C
                        these -- these limitations are not satisfied                                         A
                        in claim 1 of the '966 patent.
                                                                                                Zone Scene
                                                                                                NOT saved
Transcript at 1373:7-17
                                                                                                             DDX14.65
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 273 of 283
                    Jury Instructions On Willful Infringement


                                      Jury Instruction #38:
To determine whether Google acted willfully, consider all facts and assess Google’s knowledge
  at the time of the challenged conduct. Knowledge of a fact may be inferred where a party
                              intentionally blinds itself to that fact.
                  Facts that may be considered include but are not limited to:
         (1) Whether or not Google acted consistently with the standards of behavior
            for its industry;
         (2) Whether or not Google reasonably believed its products did not infringe
            or that the patent was invalid at the time of infringement;
         (3) whether or not Google made a good-faith effort to avoid infringing the
            asserted patents; and
         (4) Whether or not Google tried to cover up its infringement.



                                                                                              DDX14.66
                       Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 274 of 283
                  Google Developed Its Technology Independently




   Ken Mackay                                                                                 Justin Pedro
     Software                                                                                 Engineering
      Engineer                                                                                Manager




Tavis Maclellan                                                                               Chris Chan
      Software                                                                                Product
      Engineer                                                                                Manager



                                                                                                        DDX14.67
        Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 275 of 283




Google’s Response to Sonos’s Damages Theory




                                                                               DDX14.68
                      Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 276 of 283
                              Damages Are Not Required


                                   Jury Instruction #40:
      If the asserted claims of these patents are ultimately found to be invalid . . .
                      Google will not have to pay money damages.




Patents not valid                          No infringement                                   $0 damages




                                                                                                     DDX14.69
                                   Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 277 of 283
         Sonos Waited 15 Years to Implement Patented Feature


 Jan. 27, 2005
 Sonos releases
 2005 system                                                                                                       June 8, 2020
                                                                                                                   Sonos first released
                                                                                                                   ’885/’966 patented
       Dec. 21, 2005
                                                                                                                   feature
       Mr. Lambourne’s
       conception date



                                             15-year Gap


2005   2006   2007   2008   2009     2010   2011    2012   2013   2014    2015   2016    2017   2018      2019   2020   2021   2022   2023


                                                                                                                                       DDX14.70
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 278 of 283
                       Sonos Could Not Establish Value

                                 Jury Instruction #42:
 One of my functions as a judge presiding over a trial is to ensure that the evidence
  you considered meets the minimum requirements for admissibility. Upon further
review, I have found that this testimony and theory of damages does not meet those
minimum requirements. As such, I have made a ruling striking this IFTTT theory from
the record. What this means is that you shall not factor in any information regarding
                       IFTTT into your calculation of damages.




                                                                                           DDX14.71
                     Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 279 of 283
                          Sonos Could Not Establish Value
                                 Jury Instruction #28:
Until, if ever, a computing device with the Google Home app installed is networked
with at least three zone players that may be added to overlapping zone scenes using
      the Google Home app, it cannot fall within the claims of the ’966 patent.
                100,000,000
                                                           94,660,967
                 90,000,000

                 80,000,000

                 70,000,000

                 60,000,000

                 50,000,000

                 40,000,000

                 30,000,000

                 20,000,000      14,133,558
                 10,000,000

                         0
                                Media Players          Google Home App
                                                                                            DDX14.72
                Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 280 of 283
                 A Lump Sum Royalty Is Appropriate

                            Jury Instruction #42:
   There are license agreements admitted into evidence that you may find
 sufficiently comparable and that you may use, along with other evidence of
                        economic value, if applicable.




 Outland Research: $2.25M                           Denon: $10M / 1,000 x 2 = $200,000
           Purchase                                                               License
           Agreement                                                              Agreement
TX6016                                                     TX6721

                                                                                              DDX14.73
                    Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 281 of 283
                         Sonos’s Running Royalty Licenses

                           Jury Instruction #42:
  There are license agreements admitted into evidence that you may find
sufficiently comparable and that you may use, along with other evidence of
                       economic value, if applicable.

                   Lenbrook                                                Legrand
                  (Bluesound)                                         (Pass & Seymour)
                                   U.S.                                                     U.S.
           Time Period       Royalty Payments                      Time Period        Royalty Payments
       Jan 2019- Sep 2020             $359,210                Jan 2019- Sep 2020              $184,425
       Oct 2020- Dec 2020              127,116                Oct 2020- Dec 2020                15,336
       Jan 2021- Mar 2021               68,100                Jan 2021- Mar 2021                12,924
       Apr 2021- Jun 2021               80,706                Apr 2021- Jun 2021                12,576
       Jul 2021- Sep 2021              148,804                Jul 2021- Sep 2021                13,740
       Total                       $783,936                   Total                        $239,001



                                                                                                         DDX14.74
                   Case 3:20-cv-06754-WHA Document 768-1 Filed 05/23/23 Page 282 of 283
            Cost to Implement NIAs Is the Appropriate Measure

                               Jury Instruction #42:
                                                Christopher Bakewell
      There are license agreements admitted into evidence that you may find
    sufficiently comparable and that you may use, along with other evidence of
                           economic value, if applicable.




                                                                                  $200,000

Christopher
 Bakewell                                                   Non-infringing
Damages Expert
                                                            Alternative
                                                                                             DDX14.75
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            Google’s Rebuttal




                                                                       DDX14.76
